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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIM. NO: 3:CR-16- As5y4
Vv. : (Judge )
DAVID D. KLEPADLO, and
DAVID D. KLEPADLO &
ASSOCIATES, INC.
Defendants
INDICTMENT

COUNT I
THE GRAND JURY CHARGES:

 

Introduction
At times material to this Indictment:
1. The defendant, David D. KLEPADLO (KLEPADLO), resides in Clark
Summit, Pennsylvania. |
2. The defendant, David D. Klepadlo & Associates, Inc. (DKA), is

Pennsylvania business corporation created in 1989 with Articles of Incorporation

 

dated March 21, 1989. DKA is a multi-disciplined civil and environmental

engineering firm with a business address located in Clark Summit, Pennsylvania.
3. KLEPADLO was the owner, operator and president of DKA.

KLEPADLO is certified by the Commonwealth of Pennsylvania as a waste water

treatment system operator.

 
 

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THE CLEAN WATER ACT

4, The Clean Water Act (“CWA”), 33 U.S.C. § 1251, et seq., is the Nation’s
comprehensive water pollution control statute. The purpose of the CWA is to
restore and maintain the chemical, physical, and biological integrity of the Nation’s
water. In addition, the CWA was enacted to prevent, reduce, and eliminate water
pollution in the United States and to conserve the waters of the United States for
the protection and propagation of fish and aquatic life and wildlife, recreational
purposes, and for the use of such waters for public drinking water, agricultural, and
industrial purposes. 33 U.S.C. § 1252(a).

5. Title 33, United States Code, Section 1311 of the CWA, prohibits the
discharge of any pollutant by any person, except in compliance with provisions of
the CWA, including 33 U.S.C. § 1342.

6. The CWA defines a “person” as an individual and a corporation, 33

U.S.C. § 1362(5), and “any responsible corporate officer,” 33 U.S.C. § 1319(c)(6);
“discharge of a pollutant” as any addition of any pollutant to navigable waters from
any point source, 33 U.S.C. § 1362(12); “pollutant” as, among other things, solid
waste, sewage, sewage sludge, chemical wastes, and industrial and agricultural
waste discharged into water, 33 U.S.C. § 13862(6); “navigable waters” as waters of
the United States, 33 U.S.C. § 1362(7); and “point source” as any discernible,
confined, and discrete conveyance from which pollutants are discharged, including

any pipe, ditch, channel, conduit, and discrete fissure, 33 U.S.C. § 13862(14).
 

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7. Title 33, United States Code, Section 1342 of the CWA authorizes the
discharge of pollutants in compliance with a permit issued under the National
Pollution Discharge Elimination Systems ("NPDES”) by the U.S. Environmental
Protection Agency (“EPA”) or a federally authorized state agency, including the
Pennsylvania Department of Environmental Protection (“(PADEP”).

8. NPDES permits authorize the discharge of pollutants into surface
waters under specified conditions, and impose limits on the type and amount of
pollutants that can be discharged into the waters of the United States. 33 U.S.C. §
1311(a) and 1342.

9. NPDES permits are specific to each treatment facility. They contain
permit limits based on, among other things, the nature of the pollutants being
treated, volume, treatment capacity, and the nature of the receiving waterway.
The NPDES permits require permit holders to participate in a self-monitoring
program where they must collect samples prior to discharging waste water into a
receiving water, and to conduct analysis on the effluent (liquid waste or sewage)
produced by the permitted facility. These permits contain both daily and weekly
monitoring requirements. The permit program is based on self-monitoring by the
permittee. Any failure with respect to self-monitoring affects the integrity of the
regulatory program and can potentially affect human health and the environment.

10. NPDES permits spell out in detail when samples must be collected,

how samples are to be handled, the type of sample to be collected, where that
 

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sample must be collected and what detailed records must be kept in regard to
sampling and analysis. These permits require different types of samples
depending on the parameter to be tested. A “composite” sample is a collection of
samples mixed together over a period of time (such as 8 hours or 24 hours) that are
proportional to flow. This is done to represent how the treatment facility is
functioning over a period oftime. A “grab” sample is a sample taken at a specific
point in time, and reflects the pollutants in the waste water at that point in time.
11. NPDES permits require the permittees to submit Discharge
Monitoring Reports (DMRs) on a monthly basis to the PADEP. A Principal
Executive Officer or Authorized Agent of the permittee has to sign each DMR.

Each DMR contains a statement warning of criminal liability for false reporting.

Greenfield Township Sewer Authority

12. Greenfield Township is a township located in Lackawanna County,
Pennsylvania. The Greenfield Township Sewer Authority (GTSA) owns and
operates a publicly owned treatment works (“POTW”) that is subject to the terms of
and conditions of an NPDES Permit, effective May 1, 2009 and expiring April 30,
2014. Prior to expiration of the Permit, the GTSA initiated the process for renewal
of the NPDES Permit. Pursuant to custom and practice of the PADEP, all terms
and conditions of the May 1, 2009 NPDES Permit held by the GTSA remain in

effect throughout the renewal process.
 

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18. Under the CWA’s NPDES permit program, PADEP issued to the GTSA
NPDES Permit No. PA 0061671, authorizing the GTSA to discharge pollutants from
its treatment facility located in Greenfield Township, Lackawanna County,
Pennsylvania, to an unnamed tributary of Dundaff Creek in Watershed 4-F, in
accordance with effluent limitations, monitoring requirements, and other conditions
set forth in the GTSA Permit, and in compliance with federal and state laws and
regulations.

14, Dundaff Creek flows into the Tunkhannock Creek, and then into the
Susquehanna River, a navigable waterway of the United States.

15. From in or about May 1, 2009 and continuing to the present time,
GTSA contracted with defendants, KLEPADLO and DKA, to operate and manage
GTSA’s waste water treatment plant in accordance with the regulations and
limitations specified in the GTSA Permit and the CWA and its regulations.

16. The GTSA Permit requires that the permittee at all times maintain in
good working order, and properly operate and maintain all facilities and systems,
which were installed and used by the permittee to achieve compliance with the
terms and conditions of the GTSA Permit.

17. The GTSA Permit set discharge limits for pollutants, including
| ammonia-nitrogen (“NH3-N”) and total suspended solids (“TSS”). The GTSA
Permit set the discharge limit for NH3-N for two time frames. For the period from

May 1 to October 31, the daily maximum concentration limit was 2.9 mg of NH3-N

 
 

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per liter of effluent. For the period from November 1 to April 30, the daily
maximum concentration limit was 8.7 mg of NH3-N per liter of effluent. The
GTSA Permit set the discharge limit for TSS as a daily maximum concentration
limit of 35 mg of TSS per liter of effluent.

18. The GTSA has both weekly and daily monitoring sample requirements.
The GTSA Permit required that NH3-N be monitored and measured in an 8-hour
composite sample of effluent once a week. The GTSA Permit required that TSS be
monitored and measured in an 8-hour composite sample of effluent once a week.
The GTSA Permit required daily grab sample requirements to monitor for pH,
Dissolved Oxygen, and Total Residual Chlorine.

19. The GTSA Permit required that: samples and measurements taken
for the purpose of monitoring be representative of the monitored activity; each
sample and each measurement taken pursuant to the requirements of the GTSA
Permit be recorded: approved test procedures for the analysis of the pollutants be
used; Discharge Monitoring Reports (DMRs), which required the reporting of
samples and measurements taken pursuant to the GTSA Permit, be properly
completed; ifthe permittee monitored any pollutant using the analytical methods
described in the GTSA Permit more frequently than the GTSA Permit required, the
results of the monitoring be incorporated into the calculations on the DMR; properly
completed DMRs be submitted to the PADEP within 28 days after the end of the

monthly reporting period; and all instances of noncompliance be reported.

 
 

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20. Anemployee of DKA, who is also a certified waste water operator,
signed the GTSA DMRs as the plant operator, and KLEPADLO signed the GTSA
DMRs as the Principal Executive Officer or Authorized Agent. KLEPADLO
submitted the GTSA DMRs to PADEP on behalf of DKA which, in turn, was

submitting them on behalf of the client, the GTSA.

Benton-Nicholson Joint Sewer Authority

21. Benton Township is a township located in Lackawanna County,
Pennsylvania. Nicholson is a Borough located in Wyoming County, Pennsylvania.
The Benton-Nicholson Joint Sewer Authority (BNSA) owns and operates a publicly
owned treatment works (“POTW”) that is subject to the terms of and conditions of
an NPDES Permit, effective May 1, 2012 and expiring April 30, 2017.

22. Under the CWA’s NPDES permit program, PADEP issued to the
BNSA, NPDES Permit No. PA 0064106, authorizing the BNSA to discharge
pollutants from its treatment facility located in Nicholson, Wyoming County,
Pennsylvania, to an unnamed tributary of South Branch Tunkhannock Creek in
Watershed 4-F, in accordance with effluent limitations, monitoring requirements,
and other conditions set forth in the BNSA Permit and in compliance with federal
and state laws and regulations.

23. South Branch Tunkhannock Creek flows into the Susquehanna River,

a navigable waterway of the United States.
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24. From inor about May 1, 2012 and continuing to the present time,
BNSA contracted with defendants, KLEPADLO and DKA, to operate and manage
BNSA’s waste water treatment plant with respect to the regulations and limitations
specified in the BNSA Permit.

25. The BNSA Permit required that the permittee at all times maintain in
good working order and properly operate and maintain all facilities and systems
which were installed and used by the permittee to achieve compliance with the
terms and conditions of the BNSA Permit.

26. The BNSA Permit set discharge limits for NH3-N for two time frames.
For the period from May 1 to October 31, the daily maximum concentration limit
was 3.5 mg of NH3-N per liter of effluent. For the period from November 1 to April
30, the daily maximum concentration limit was 10.5 mg of NH3-N per liter of
effluent. The BNSA-Permit set the discharge limit for TSS as a daily maximum
concentration limit of 35 mg of TSS per liter of effluent,

27. The BNSA has both weekly and daily monitoring sample
requirements, The BNSA Permit required that NH3-N be monitored and
measured in an 8-hour composite sample of effluent once a week. The BNSA
Permit required that TSS be monitored and measured in an 8-hour composite
sample of effluent once a week. The BNSA Permit required daily grab sample

requirements to monitor for pH.
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28. The BNSA Permit required that: samples and measurements taken
for the purpose of monitoring be representative of the monitored activity: each
sample and each measurement taken pursuant to the requirements of the BNSA
Permit be recorded; approved test procedures for the analysis of the pollutants be
used; Discharge Monitoring Reports (DMRs), which required the reporting of
samples and measurements taken pursuant to the BNSA Permit be properly
completed; ifthe permittee monitored any pollutant using the analytical methods
described in the BNSA Permit more frequently than the BNSA Permit required, the
results of the monitoring be incorporated into the calculations on the DMR: properly

completed DMRs be submitted to the PADEP within 28 days after the end of the

 

monthly reporting period: and all instances of noncompliance be reported.

29. Anemployee of DKA, who is also a certified waste water operator,
signed the BNSA DMRs as the plant operator, and KLEPADLO signed the BNSA
DMRs as the Principal Executive Officer or Authorized Agent. KLEPADLO
submitted the BNSA DMRs to PADEP on behalf of DKA which, in turn, was

submitting them on behalf of its client, the BNSA.
 

 

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CONSPIRACY TO VIOLATE CWA
30. From at least in or about May 2012 through June 2014, in the Middle

District of Pennsylvania, the defendants,

DAVID D. KLEPADLO, and
DAVID D. KLEPADLO & ASSOCIATES, INC.,

conspired and agreed, together and with others, both known and unknown to the
grand jury, to commit an offense against the United States, that is, to:

a. knowingly violate permit conditions and limitations implementing
sections in permits issued under 33 U.S.C, § 1342, in violation of 33 U.S.C. §
1319(c)(2); |

b. knowingly falsify, tamper with, and render inaccurate monitoring devices
and methods required to be maintained under the CWA, in violation of 33 U.S.C. §
1319(c)(4); and

c. knowingly make false statements, representations, and certifications in
records, reports, and other documents filed and required to be maintained under the
CWA, in violation of 33 U.S.C. § 1319 (c)(4).

Manner and Means

It was part of the conspiracy that,
31. The defendants, KLEPADLO and DKA, and others known and
unknown to the grand jury, knowing failed to properly operate and maintain the

facilities and systems of treatment and control that were installed at the waste

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water treatment plants and used to achieve compliance with the terms and
conditions of the NPDES permits.

32. The defendants, and others known and unknown to the grand jury,
knowingly failed to take samples and measurements for the purpose of monitoring
that were representative of the monitored activity.

33. The defendants, and others known and unknown to the grand jury,
knowingly made up test results and falsely reported sampling days and test results
on DMRs to the PADEP for pollutants that were required to be measured and
reported under GTSA and BNSA NPDES permits.

34. The defendants, and others known and unknown to the grand jury,
knowingly diluted effluent samples when they believed that the measurements of
pollutants in the samples exceeded the pollutant limits in the GTSA and BNSA
NPDES permits.

Overt Acts

In furtherance of the conspiracy and to accomplish its objects, the defendants
and others known and unknown to the grand jury, committed the following overt
acts, among others, in the Middle District of Pennsylvania and elsewhere:

a. On or about January 21, 2014, the defendants falsely reported test
results for pH levels of effluent at the GTSA on a DMR submitted to PADEP.

b. On or about January 21, 20 14, the defendants falsely reported test

results for DO levels of effluent at the GTSA on a DMR submitted to PADEP.

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c. On or about January 21, 2014, the defendants falsely reported test
results for TR Chlorine levels of effluent at the GTSA on a DMR submitted to |

PADEP.

d. On. or about January 21, 2014, the defendants falsely reported test
results for NH3-N levels of effluent at the GISA on a DMR submitted to PADEP.

e. On or about January 21, 2014, the defendants falsely reported test
results for pH levels of effluent at the BNSA on a DMR submitted to PADEP.

f. On or about January 21, 2014, the defendants falsely reported test
results for DO levels of effluent at the BNSA on a DMR submitted to PADEP.

g On or about January 21, 2014, the defendants falsely reported test
results for TR Chlorine levels of effluent at the BNSA on a DMR submitted to
PADEP.

h. On or about January 21, 2014, the defendants falsely reported test
results for NH3-N levels of effluent at the BNSA on a DMR submitted to PADEP.

i. On or about February 26, 2014, the defendants falsely reported test
results for pH levels of effluent at the GTSA on a DMR submitted to PADEP.

j. On or about February 26, 2014, the defendants falsely reported test
results for DO levels of effluent at the GTSA on a DMR submitted to PADEP.

k. On or about February 26, 2014, the defendants falsely reported test
results for TR Chlorine levels of effluent at the GTSA on a DMR submitted to

PADEP.

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1, On or about February 26, 2014, the defendants falsely reported test
results for NH3-N levels of effiuent at the GTSA on a DMR submitted to PADEP.

m. On or about February 25, 2014, the defendants falsely reported test
results for pH levels of effluent at the BNSA on a DMR submitted to PADEP.

n. On or about February 25, 2014, the defendants falsely reported test
results for DO levels of effluent at the BNSA on a DMR submitted to PADEP.

0. On or about February 25, 2014, the defendants falsely reported test
results for TR Chlorine levels of effluent at the BNSA on a DMR submitted to
PADEP.

p. On or about February 25, 2014, the defendants falsely reported test
results for NH3-N levels of effluent at the BNSA on a DMR submitted to PADEP.

All in violation of Title 18, United States Code, Section 371.

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THE GRAND JURY FURTHER CHARGES:
COUNT 2

33 United States Code, § 1319(c)(2)(A)
(Discharge in Violation of a CWA Permit)

35. The allegations contained in paragraphs 1 through 34 of this
Indictment are incorporated herein.

36. Between in or about December 2013 to in or about April 2014, in the
Middle District of Pennsylvania, the defendants,

DAVID D. KLEPADLO, and.
DAVID D. KLEPADLO & ASSOCIATES, INC.,

knowingly violated and caused the violation of a permit condition of the GTSA
permit issued under 33 U.S.C. § 1342, that is, the defendants knowingly violated
permit conditions by failing to properly operate and maintain the GTSA treatment
facility by removing the solid and sewage sludge build-up in the chlorine contact
| tanks; 2) failing to take the required daily grab samples for pH, DO and TRC; 3)
failing to take the required weekly composite samples for CBOD5, Total Suspended
Solids (TSS) and Nitrogen-Ammonia; 4) failing to take the required twice monthly
composite samples for Ammonia-N, Kjeldahl-N, Nitrate-Nitrite, and Total
Phosphorus; 5) failing to take representative samples of the effluent; and, 6)
discharging partially untreated pollutants (fecal coliform) and raw sewage that
numerically viclated the permit limits.

In violation of Title 33, United States Code, Section 1319(c)(2)(A), and Title

18 United States Code, Section 2.

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THE GRAND JURY FURTHER CHARGES:
COUNT 3

33 United States Code, § 1319(c)(2){A)
(Discharge in Violation of a CWA Permit)

37. The allegations contained in paragraphs 1 through 34 of this
Indictment are incorporated herein.

38. Between in or about December 2013 to in or about April 2014, in the
Middle District of Pennsylvania, the defendants,

DAVID D. KLEPADLO, and
DAVID D. KLEPADLO & ASSOCIATES, INC.,

knowingly violated and caused the violation of a permit conditions of the BNSA
permit issued under 33 U.S.C. § 1342, that is, the defendants knowingly violated
permit conditions at the BNSA by failing to properly operate and maintain the
BNSA treatment facility by removing the solid and sewage sludge build-up in the
chlorine contact tanks; 2) failing to take the required daily grab samples for pH;
3) failing to take the required weekly composite samples for CBOD5, Total
Suspended Solids (TSS) and Nitrogen-Ammonia; 4) failing to take the required
twice monthly composite samples for Ammonia-N, Kjeldahl-N, Nitrate-Nitrite, and
Total Phosphorus; 5) failing to take representative samples of the effluent; and,
6) discharging partially untreated pollutants (fecal coliform) and raw sewage that
numerically violated the permit limits.

In violation of Title 33, United States Code, Section 1319(c){2)(A), and Title
18 United States Code, Section 2.

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THE GRAND JURY FURTHER CHARGES:
. COUNTS 4 through 14

33 United States Code, § 1319(c)(4)
(False Statements in Violation of CWA)

39. The allegations contained in paragraphs 1 through 34 of this
Indictment are incorporated herein.

40. Between December 2013 and June 2014, the defendants submitted
monthly DMRs to the PADEP representing and certifying that all weekly and daily
testing of pollutants as required by the GTSA and BNSA permits were performed
and the results were accurately reported.

41. Onor about the dates set forth below, in the Middle District of

Pennsylvania, the defendants,

DAVID D. KLEPADLO, and
DAVID D. KLEPADLO & ASSOCIATES, INC.,

knowingly caused false material statements, representations, and certifications to
be made in records, reports, and other documents filed and required to be
maintained under the CWA and the regulations promulgated thereunder, that is,
the defendants knowingly caused to be reported in GTSA and BNSA DMRs
submitted to the PADEP, as set forth below, false test results for the pollutants

identified below, each DMR submitted constituting a separate count:

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COUNT | DATE DMR FACILITY | POLLUTANT
SUBMITTED | REPORTING
PERIOD

4 Jan. 21, 2014 Dec. 2013 GTSA pH, DO, TRC, NH3-N
5 Feb. 26,2014 | Jan. 2014 GTSA pH, DO, TRC, NH3-N
6 March 25, 2014 | Feb. 2014 GTSA pH, DO, TRC, NH3-N
7 | April 22,2014 | March 2014 | GTSA pH, DO, TRC, NH3-N
8 May 27,2014 | April 2014 GTSA pH, DO, TRC, NH3-N
9 Jan. 21, 2014 Dec. 2013 BNSA pH, DO, TR, NH3-N
10 Feb. 25,2014 | Jan. 2014 BNSA pH, DO, TRC, NH3-N
11 March 25, 2014 | Feb. 2014 BNSA pH, DO, TRC, NH3-N
12 April 22,2014 | March 2014 BNSA pH, DO, TRC, NH3-N
13 May 27, 2014 April 2014 BNSA pH, DO, TRC, NH8-N
14 June 26, 2014 | May 2014 BNSA pH, DO, TRC, NH3-N

 

All in violation of Title 33, United States Code, Section 1319(c)(4), and Title

18, United States Code, Section 2.

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THE GRAND JURY FURTHER CHARGES:
COUNT 15

18 U.S.C. § 1512(¢)(2)
(Tampering with a Witness)

42, QOnor about August 24, 2015, in the Middle District of Pennsylvania,
the defendant,
DAVID D. KLEPADLO,
corruptly obstructed, influenced, and impeded the investigation involving conduct in
connection with the commission of Clean Water Act violations of Title 33, United

States Code, §§ 1319(c)(2)(A) and 1319(c)(4), and attempted to do so.

In violation of 18 United States Code, § 1512(c)(2).

 
 

 

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THE GRAND JURY FURTHER CHARGES:
COUNT 16

18 U.S.C. § 1512(c)(2)
(Tampering with a Witness)

43. Onor about August 31, 2015, in the Middle District of Pennsylvania,
the defendant,
DAVID D. KLEPADLO,
corruptly obstructed, influenced, and impeded the investigation involving conduct in
connection with the commission of Clean Water Act violations of Title 33, United
States Code, §§ 1319(c)(2)(A) and 1319(c)(4), and attempted to do so.

In violation of 18 United States Code, § 1512(c)().

A TRUE BILL

   

PETER J. SMITH
UNITED STATES ATTORNEY

DATE: Soflb Vschetle Mbabeglal,
By: MICHELLE OLSHE

ASSISTANT U.S. ATTORNEY

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